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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



MARILYN HUERTERO, individually and as :
G/AIL for JONATHAN ARRIAGA (infant),

                       Plaintiffs,
                                                         Civil Action No. 13-3739 (MAS)(LHG)
               v.

UNITED STATES OF AMERICA, U.S.                                        ORDER
DEP'T OF HEALTH & HUMAN SERVICES,:
and JOHN & JANE DOES #1-10,

                       Defendants.


       This matter comes before the Court upon the motion to dismiss of Defendants United States

of America (the "Government") and United States Department of Health and Human Services

("HHS") (collectively, "Defendants") pursuant to Federal Rule of Civil Procedure 12(b)(1 ). (Defs.'

Br., ECF No. 12-1.) Plaintiffs Marilyn Huertero, individually and as Guardian Ad Litem for her

infant son, Jonathan Arriaga (collectively, "Plaintiffs") filed Opposition. (Pls.' Opp'n, ECF No. 15.)

Defendants filed a Reply. (Defs.' Reply, ECF No. 18.) The Court has carefully considered the

Parties' submissions and decided the matter without oral argument pursuant to Local Civil Rule 78.1.

For the reasons stated in the Memorandum Opinion filed today, and other good cause shown,
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       IT IS on this 3(/ day of April, 2014, ORDERED that, pursuant to Rule 12(h)(3),

Defendants' Motion to Dismiss is GRANTED.




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                                                              UNITED STATES DISTRICT JUDGE
